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                      UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF PENNSYLVANIA

Alan W. Schmidt, on behalf of himself and in a
representative capacity on behalf of all others
similarly situated and derivatively on behalf of
Genaera Corporation,
                                                   Civil Action No.: 2:12-cv-03265-BMS
                              Plaintiff,
                                                   Judge: Honorable Berle M. Schiller
               v.

John A. Skolas, et al.,

                              Defendants.


                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Alan W. Schmidt (“Schmidt”), on behalf of himself

and in a representative capacity on behalf of all others similarly situated and derivatively on

behalf of Genaera Corporation, hereby appeals to the United States Court of Appeals for the

Third Circuit from: (1) the November 10, 2015 Memorandum (Dkt. No. 194) granting

Defendants’ motions to dismiss Schmidt’s Second Amended Verified Class Action and

Shareholder Derivative Complaint for Damages and Rescission of Sales of Assets to OHR and

Dipexium (“Second Amended Complaint”); and (2) the November 10, 2015 Order (Dkt. No.
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195) granting Defendants’ motions to dismiss (Dkt. Nos. 158-64), dismissing Schmidt’s Second

Amended Complaint, and directing the Clerk to close the case.

Dated: November 11, 2015                   Respectfully submitted,

                                           SQUITIERI & FEARON, LLP

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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 11, 2015, I caused a true and correct copy of the

foregoing Notice of Appeal, to be electronically filed with the United States District Court for

the Eastern District of Pennsylvania, and served on all counsel of record by operation of the

Court’s Electronic Case Filing (“ECF”) system.

       Copies of this document are available for viewing and downloading from the Court’s

ECF system.

                                            /s/Lee Squitieri
                                            Lee Squitieri




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